             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                               1:07CR69

UNITED STATES OF AMERICA,                           )
                                                    )
Vs.                                                 )              ORDER
                                                    )
GUY KENNETH PENLAND.                                )
__________________________________                  )

          THIS MATTER is before the court upon defendant’s Motion for Enlargement

of Time in Which to File Pretrial Discovery Motions. Having considered defendant’s

Motion for Enlargement of Time in Which to File Pretrial Discovery Motions and

reviewed the pleadings, and it appearing that good cause has been shown for the relief

sought, but that the court cannot provide an open ended enlargement, the court enters

the following Order, which will allow defendant to seek further extensions if the need

arises.

                                      ORDER

          IT IS, THEREFORE, ORDERED that defendant’s Motion for Enlargement

of Time in Which to File Pretrial Discovery Motions is GRANTED, and defendant

is allowed an ADDITIONAL 30 days within which to file discovery motions. Such

enlargement is with leave to seek, before expiration of such enlarged period,

additional time if circumstances so warrant.




      Case 1:07-cr-00069-TSE-DLH     Document 107       Filed 08/20/07   Page 1 of 2
                                     Signed: August 20, 2007




                                 2


Case 1:07-cr-00069-TSE-DLH   Document 107   Filed 08/20/07   Page 2 of 2
